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To: Elizabeth Campbell Date: July 27, 2014
Senior Counsel
AmerisourceBergen Corporation

Fm: Michael Mapes
CSRA DEA Consultant

Cc: Chris Zimmerman
Steve Mays
David May
Ed Hazewski

Re: ABC Order Monitoring Program Review
June 12, 2014

Attorney/Client Privileged Communication
PURPOSE OF REVIEW:

From June 11, 2014, to June 12, 2014, Michael Mapes, CSRA Consultant, reviewed the
Order Monitoring Program (OMP) at AmerisourceBergen Drug Company in
Chesterbrook, PA. The review included a review CSRA policies and procedures, the
CSRA 590 process, the process for orders that have been held by the OMP system, a
review of the current threshold levels for the various customers, and a review of the
Chain Pharmacy initiative by CSRA.

Information for the review was obtained from reviews of documents and discussions
with Ed Hazewski, the Director of the Diversion Control Program for ABC, Liz Garcia,
Kevin Kreutzer, Eric Martin, and Kimberly St. John.

A significant amount of time during the review was spent discussing the FTI Consulting
project to update the ABC diversion control program.

BACKGROUND:

The OMP program at ABC is constantly changing to address the changes to the drug
diversion situation and changes to ordering patterns by ABC customers. The ABC OMP
is well managed and appears to be very effective at mitigating the risk associated with
the distribution of controlled substances by ABC. The following are issues that were
identified during the August 2013 review related to the OMP:

1. For chain store customers, review information at the chain store corporate level to
ensure that the chain corporation has policies and procedures in place to mitigate the
risk of the diversion of controlled substances and listed chemicals. The corporate
review should include:

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2. The issue of contacting the local DEA office for each Customer Due Diligence (CDD)
investigation may be having negative consequences on the relationship between
ABC and DEA. DEA personnel are generally prohibited from providing information on
on going investigations, so asking DEA to provide the information can be interpreted
as asking DEA to violate their policies.

3. When CSRA completes a Prescribers Big Report (PBR), prescribers that raise the
level of concerns for the prescriptions filled at a specific pharmacy are identified.
CSRA usually advises the pharmacy that there is a concern with the prescriptions
from specific doctors and advises that ABC is reducing the threshold levels for
specific products. The specific prescriber with the suspect prescriptions is also
placed on the Suspicious Prescriber List (SPL). Currently, the SPL is not reviewed to
determine if the prescribers who have been identified as suspicious at one pharmacy
have been identified by another pharmacy as prescribers for which the second
pharmacy fills prescriptions. The SPL should be checked whenever a 590 or
threshold increase results in the identification of specific prescribers.

4. When a PBR is initiated, CSRA should consider initiating a Google Alert for the
pharmacy or prescribers that are the subject of the PBR. The Google Alert will
monitor the Internet and news releases related to the pharmacy or prescriber.

5. CSRA should draft a policy for wnen PBR reports are initiated, and for what is
contained in a PBR report. Will all PBR’s contain 90 days of data and what analysis
will be completed?

6. CSRA Policy Number 3.4, requires that on an annual basis the RVP’s will review and
certify that their accounts continue to remain in compliance with the intent and spirit of
policy 3.4. No certifications of the compliance by the RVP’s were located at CSRA.

7. When completing documentation of investigations in Law Trac, ensure that the
documentation is complete and consistent. Some investigators are checking all
employees of a pharmacy in Google and with the state board, but only making a
general comment in Law Trac that state board and Internet checks have been made.
Additionally, some comments in the SAP order monitoring system reported orders
being “Rejected as Compliant.”

8. During the CSRA 590 process, some pharmacies advise that they have not received
a Self-Certification for Listed Chemicals. Further investigation should be undertaken
to determine if the pharmacy intends to obtain a Self-Certification, if they did not
understand the question or if they are not going to handle Listed Chemicals such as
pseudoephedrine products. If the pharmacy does not have a Self-Certification, ABC
should not sell Listed Chemicals to the pharmacy.

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Each of the issues recommendations from the 2013 review was addressed by ABC, as
described in a memorandum, dated November 1, 2013 from Edward Hazewski.

The implementation of the ABC OMP into the Walgreen’s process for their stores was
discussed. It appears that the OMP is working well with the Walgreens stored, partly
due to the internal Walgreen’s policies and procedures that are in place to prevent
suspicious orders and the communication between CSRA and Walgreens.

The main issue that was identified during the audit was the differences in the OMP
between ABC, Bellco, and ABC Specialty companies. This issue is being addressed
with reviews at the other companies to ensure that all of the ABC companies have
consistent polices and procedures in place and that each organization Is following the
policies and procedures.

The review of documents and discussions with the CSRA personnel did not identify any
other issues of concern.

Should you have questions concerning this matter, please contact me at

mrmapes@gmail.com or 719-650-0294.

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